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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

EDDYSTONE RAIL COMPANY, LLC,              :
         Plaintiff/Counter-defendant,     :
                                          :
   v.                                     :         No. 2:17-cv-00495-RK
                                          :
JULIO RIOS, JEREMY GAMBOA,                :
BRIDGER LOGISTICS, LLC,                   :
FERRELLGAS PARTNERS, L.P.,                :
FERRELLGAS, L.P., et al.,                 :
             Defendants,                  :
                                          :
BRIDGER LOGISTICS, LLC,                   :
FERRELLGAS PARTNERS, L.P., and            :
FERRELLGAS, L.P.,                         :
             Defendants/Counterclaimants. :



                       NOTICE OF CONSENT TO TRIAL BY JURY

       Pursuant to the Court’s April 12, 2019 Order (Dkt. 318), Defendants/Counterclaimants

Bridger Logistics, LLC, Ferrellgas Partners, L.P., Ferrellgas L.P., Bridger Rail Shipping, LLC,

Bridger Real Property, LLC, Bridger Storage, LLC, Bridger Swan Ranch, LLC, Bridger

Terminals, LLC, Bridger Transportation, LLC, J.J. Addison Partners, LLC, J.J. Liberty, LLC,

Bridger Administrative Services II, LLC, Bridger Energy, LLC, Bridger Lake, LLC, Bridger

Leasing, LLC, and Bridger Marine, LLC (collectively, the “BL/FG Defendants”) hereby consent

to trial by jury as to all claims and counterclaims set forth by the pleadings in this action,

pursuant to Fed. R. Civ. P. 39(c)(2).

       In its Complaint, Plaintiff Eddystone Rail Company (“ERC”) demanded a trial by jury

“as to all counts so triable,” pursuant to Fed. R. Civ. P. 38. (Dkt. 1.) ERC’s First Amended

Complaint reiterated its jury trial demand. (Dkt. 182.) The BL/FG Defendants did not object,

instead stating that ERC had no right to a jury trial “because it asserts its claims under admiralty
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jurisdiction.” (Dkt. 244 & 245.) In its Answer to BL/FG Defendants’ Counterclaims, ERC

demanded a jury trial “as to all counterclaims and defenses.” (Dkt. 133 & 134). The BL/FG

Defendants did not object.

       The BL/FG Defendants have relied upon and hereby consent to ERC’s jury demand, as

well as to a trial by non-advisory jury on all claims and counterclaims. See Pals v. Schepel Buick

& GMC Truck, Inc., 220 F.3d 495, 501 (7th Cir. 2000) (“[M]utual implied consent supports the

jury’s authority to resolve issues that normally would be decided by the court.”). Thus, BL/FG

Defendants respectfully ask that the Court order a trial by jury.

Dated: April 17, 2019                         Respectfully submitted,


                                          By: /s/ Lawrence G. Scarborough
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                           Bridger Terminals, LLC, Bridger Transportation,
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                           Bridger Admin Services II LLC, Bridger Energy,
                           LLC, Bridger Lake, LLC, Bridger Leasing, LLC,
                           Bridger Marine, LLC




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                              CERTIFICATE OF SERVICE

       I, Michael Witsch, hereby certify that on April 17, 2019, a true and correct copy of the

foregoing BL/FG Defendants’ Notice of Consent to Trial by Jury was filed electronically via the

Court’s ECF filing system. This document is available for viewing and downloading from the

ECF system and electronic notification has been sent to all counsel of record.

                                                    /s/ Michael C. Witsch
                                                    Michael C. Witsch




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